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             EXHIBIT 56
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                 EXHIBIT 9
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November 9, 2023                                                                         Disha R. Patel


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Re: ModernaTX, Inc. et al v. Pfizer Inc. et al, Case No. 1:22-cv-11378-RGS (D. Mass.): Plaintiffs’
    Document Reproduction

Counsel:

Pursuant to paragraph 9.2 of the Protective Order (Dkt. 67), please immediately destroy the original
and all copies of the documents produced by Plaintiffs at the following beginning Bates numbers,
destroy any notes or other writings or recordings that summarize, reflect, or discuss the specific
content of the document, and make no further use of the documents or the information contained
therein. Plaintiffs are herewith providing an overlay file for these documents.

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MOD_001024214
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Plaintiffs provide with this letter our fourth supplemental privilege log for certain of the above
documents, which contain revised redactions.

In addition, Plaintiffs are herewith reproducing with redactions document Bates numbered
MOD_000726024 – MOD_000726025, referenced in the November 9, 2023 letter from A. Curtis.

Please note that some documents within this production have been designated “CONFIDENTIAL”
and “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEY’S EYES ONLY” under the Protective
Order in this matter (Dkt. 67) and should be treated accordingly.

Via an emailed secure link, you will receive access to a share site containing documents Plaintiffs
are reproducing in the above-referenced action.

The files have been password-protected, and the associated password is:

Regards,
/s/ Disha Patel
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